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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 11-20587-CR-SCOLA


  UNITED STATES OF AMERICA

  v.

  JORGE MACLI, et al.,

        Defendants.
  _____________________________/

          ORDER ON DEFENDANT JORGE MACLI’S MOTION FOR MISTRIAL
         THIS MATTER is before the Court on the Motion for Mistrial, made ore tenus by
  Defendant Jorge Macli on August 7, 2012 during the testimony of Special Agent Jose Mejia.
  Special Agent Mejia took part in a post-arrest interview of Defendant Jorge Macli. Macli had
  initially agreed to speak to Mejia without an attorney and did make certain statements to Mejia.
  After being confronted with a piece of evidence, however, Macli invoked his right to counsel and
  the interview terminated. Prior to trial, the Government and Macli agreed that there would be no
  mention of Macli’s invocation of counsel during the testimony of Mejia.
         During his testimony at trial, Mejia related that he read Macli the Miranda warnings,
  verbally and through a type-written form, and that Macli initialed and signed the form and agreed
  to speak to Mejia without his attorney present. After this testimony was elicited, the following
  exchange occurred between the prosecutor and Mejia:
         Q.     And at any point did Mr. Macli say he did not understand any of these
                rights as detailed on this form?
         A.     Not at all.
         Q.     And at any point did Mr. Macli say he wanted his lawyer to be present?
         A.     Not initially.
         [Defendant’s Counsel]: Objection. Move to strike. Ask for a sidebar.
         THE COURT: All right. I’ll sustain the objection and grant the motion to strike.
         Let me see the lawyers at sidebar.
         At the sidebar, the Defendant moved for a mistrial. The Court conducted an inquiry of
  the prosecutor to learn why he had phrased his question in the manner he did, knowing that
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  Macli had invoked his right to counsel. The prosecutor stated that he was not even aware that he
  had phrased the question so inartfully.              The Court accepted as sincere the prosecutor’s
  explanation and found that the reference was inadvertent.                   Though the Court had already
  sustained the Defendant’s objection and granted his motion to strike the testimony, the Court
  offered to give an additional curative instruction to the jury and to poll the jury, which offer was
  declined by the Defendant.
          Although the Court initially denied the motion for mistrial, the Court later indicated that
  it would reserve ruling until the close of all the evidence in order to properly evaluate the effect
  of the comment in light of the entire evidentiary presentation. No further reference was made to
  the comment for the remainder of the trial, including during closing arguments. Nor was the
  Defendant’s invocation of right to counsel ever mentioned again.
          Under these circumstances, the Court finds no cause to declare a mistrial. “The decision
  to grant a mistrial lies within the sound discretion of the trial judge since he is in the best position
  to evaluate the prejudicial effect of a statement or evidence on the jury.” United States v. Blakey,
  960 F.2d 996, 1000 (11th Cir. 1992). A mistrial is appropriate only where the Defendant’s
  “substantial rights are prejudicially affected,” – i.e, “there is a reasonable probability that, but for
  the remarks, the outcome of the trial would have been different.” United States v. Emmanuel,
  565 F.3d 1324, 1334 (11th Cir. 2009) (citation omitted). The harmless error standard applies to
  motions for mistrial. See United States v. Suarez, 162 F. App’x 897, 902 (11th Cir. 2006).
          In a similar case involving a Doyle1 violation, the Eleventh Circuit held that a mistrial
  was not warranted under the harmless error standard because the witness’s comment was
  isolated, not repeated again during the case, insignificant in light of the other evidence, and
  subject to curative action by the district court. See Suarez, 162 F. App’x at 902-03. As the
  Eleventh Circuit explained:
          [We] have repeatedly held Doyle error harmless where, as here, the district court
          takes remedial measures and the comment was isolated, unsolicited, and eclipsed
          by other substantial evidence of the defendant’s guilt. Here, [the
          agent’s] comment was the only reference to [defendant’s] post-Miranda silence;
          he did not mention it again when he was recalled to the stand. The prosecutor did
          not mention the subject at any point in the trial, and the court issued a curative
          instruction and polled the jury.


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            In Doyle v. Ohio, 426 U.S. 610, 619 (1976), the Supreme Court held that “the use for impeachment
  purposes of [a defendant’s] silence, at the time of arrest and after receiving Miranda warnings, violate[s] the Due
  Process Clause of the Fourteenth Amendment.”
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  Id. (citations omitted). Although Suarez involved testimony pertaining to the defendant’s right
  to remain silent, rather than his right to counsel, the analysis is the same. See Hill v. Turpin, 135
  F.3d 1411, 1414 (11th Cir. 1998) (“although the improper references at issue in Doyle concerned
  only the defendants’ post-Miranda silence, the prohibition extends equally to impeachment use
  of a defendant's post-Miranda invocation of the right to counsel”); see also Wainwright v.
  Greenfield, 474 U.S. 284, 295 n.13 (1986).
         Here, the mention of the Defendant’s invocation of his right to counsel may have been
  improper, but it was ultimately harmless.          Where a witness’s comment is brief, insolated,
  fleeting, and insignificant in view of the prosecution’s case as a whole, the denial of a mistrial is
  proper. See Emmanuel, 565 F.3d at 1334-35; see also United States v. Gonzalez, 921 F.2d 1530,
  1549-50 (11th Cir. 1991).
         In this case, the agent’s testimony does not merit a mistrial because: 1) the witness’s
  reference to Defendant’s invocation of right to counsel was isolated, fleeting, and brief; 2) the
  Court immediately sustained the Defendant’s objection and granted the motion to strike the
  testimony; and 3) the Court offered to give a curative instruction to the jury and to poll the
  individual jurors, but the Defendant declined. See Emmanuel, 565 F.3d at 1335 (affirming denial
  of motion for mistrial where “the [witness’s] comment [was] brief, unelicited, and unresponsive,
  adding nothing to the government's case,” and the evidence against defendant was otherwise
  “substantial”; district court did not err in failing to sua sponte give curative instruction to the
  jury, where defendant did not request it; “the decision not to give a curative instruction was well
  within the district court's discretion,” because “the [witness’s] comment was ‘but a brief
  reference during a relatively long trial,’ and a curative instruction could have drawn
  ‘unwarranted attention to the comment,’ something that [defendant] wanted to avoid”); see also
  Blakey, 960 F.2d at 1000 (finding witness’s comment harmless and noting that “[t]he judge
  offered to instruct the jury to disregard the statement, but the defense counsel refused”).
         The Court also notes that, outside of the agent’s stray comment, the prosecution
  presented overwhelming evidence of Defendant’s guilt.          See; United States v. Newsome, 475
  F.3d 1221, 1227 (11th Cir. 2007) (“when the record contains sufficient independent evidence of
  guilt, any error was harmless”); United States v. Saget, 991 F.2d 702, 708 (11th Cir. 1993)
  (“prejudicial testimony will not mandate a mistrial when there is other significant evidence of
  guilt which reduces the likelihood that the otherwise improper testimony had a substantial impact
  on the verdict of the jury”) (citation omitted).
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          Accordingly, for the above reasons, and consistent with the discussions and rulings made
  in open court, it is hereby ORDERED and ADJUDGED that Defendant’s Motion for Mistrial is
  DENIED.


          DONE AND ORDERED in chambers at Miami, Florida on August 22, 2012.




                                              ____________________________________
                                              ROBERT N. SCOLA, JR.
                                              UNITED STATES DISTRICT JUDGE

  Copies to:
  Counsel of Record
